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                          1UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

JAX PEREZ,                                     Case No. 1:21-cv-00251-DCN

                        Plaintiff,             ORDER OF DISMISSAL WITH
                                               PREJUDICE
      v.

CITY OF BOISE, and KEVIN BOOE,
SARAH KELLEY-CHASE, and SARAH
MARTIN, in their individual capacities,
and JANE/JOHN DOEs 1-6, whose true
names are unknown, in their individual
capacities,

                        Defendants.


     Having considered the parties’ Stipulation for Dismissal (Dkt. 46),

     IT IS HEREBY ORDERED:

     1) All claims asserted against Defendants by Plaintiff are hereby DISMISSED with

           prejudice.

     2) Each party shall bear their own attorneys’ fees and costs.

     3) This case is CLOSED.


                                              DATED: January 11, 2023


                                              _________________________
                                              David C. Nye
                                              Chief U.S. District Court Judge




ORDER OF DISMISSAL WITH PREJUDICE - 1
